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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 HELLO FARMS LICENSING MI, LLC,

              Plaintiff,
                                                     Case No. 21-cv-10499
 v.                                                  Hon. Matthew F. Leitman

 GR VENDING MI, LLC, et al.,

           Defendants.
 __________________________________________________________________/

      ORDER (1) DENYING REMAINING PORTIONS OF DEFENDANT’S
       MOTION TO STRIKE EXPERT TESTIMONY (ECF No. 166) AND
      MOTION IN LIMINE (ECF No. 170) AND (2) RESOLVING PARTIES’
          REQUESTS FOR RULINGS (ECF Nos. 208, 215, 217, 221)

        On January 13, 2025, the Court held an on-the-record status conference to

 discuss the remaining portions of two motions that Defendants GR Vending MI,

 LLC and CURA MI, LLC filed to exclude testimony at trial and to discuss several

 requests that Plaintiff Hello Farms Licensing MI, LLC filed in this case. (See

 Motions, ECF Nos. 166, 170; Pla.’s Reqs., ECF Nos. 208, 215, 217.) In addition,

 prior to the start of trial on January 14, 2025, the Court heard argument on a request

 Defendants had filed. (See Defs.’ Req., ECF No. 221.) For the reasons explained on

 the record, the motions and requests are resolved as follows:




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        With respect to the remaining portions of (1) Defendants’ Motion In

          Limine #3 to Exclude Evidence Disclosed After Discovery Deadline (ECF

          No. 170) and (2) Defendants’ Motion to Exclude Testimony of Plaintiff’s

          Experts Jacob Katz and Erin Flannery (ECF No. 166), the remaining

          portions of those motions are DENIED;

        With respect to Hello Farms’ “Request for Ruling on Spoliation” (ECF No.

          208), the Court resolves that request as follows. The Court will first

          consider objections to the identified evidence on grounds that the evidence

          is not admissible and/or that the evidence lacks a proper foundation. If the

          Court overrules those objections, at the close of trial, the Court will

          consider a motion to strike the evidence and/or a motion for an adverse

          inference instruction based on alleged spoliation.

        With respect to Hello Farms’ “Request for Ruling on Showing Excerpts of

          Certain Exhibits in Opening Statements” (ECF No. 215), the Court will

          not preclude Hello Farms from referring to and/or showing the jury

          exhibits during its opening statement that it has a good-faith belief will be

          admitted during trial.

        With respect to Hello Farms’ “Request for Ruling on Admission of

          Recorded Phone Calls” (ECF No. 217), the Court resolves that request as

          follows. First, Hello Farms shall not play any of the identified audio


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          recordings during its opening statement. However, if Hello Farms has a

          good faith belief that a witness, when testifying at trial, will confirm

          making a statement captured on a recording, then Hello Farms can tell the

          jury during its opening statement that the witness made the statement

          (without referencing or identifying a recording of the statement). The

          Court will rule on the admissibility of the individual recordings during trial

          after Defendants have had an opportunity to respond in writing to Hello

          Farms’ request.

        With respect to Defendants’ “Request for Ruling on Demonstratives”

          (ECF No. 221), the Court resolves the request as follows. The portion of

          the request asking the Court to preclude Hello Farms’ from using a

          demonstrative during its opening statement “showing pictures of

          Defendants’ witnesses above the state in which the witness lives and/or

          works” (id., PageID.11579) is DENIED. Hello Farms may use that

          demonstrative during its opening statement. The portion of the request

          asking the Court to preclude Hello Farms from using “a picture of an

          unidentified box” during its opening statement (id.) was WITHDRAWN.

        Finally, at the close of trial proceedings on January 14, 2025, the Court

          addressed additional issues related to the presentation of demonstratives to

          the jury during opening statements. As determined on the record, Hello


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          Farms shall not show slides from its opening statement Power Point

          presentation that Hello Farms either agreed to remove or was directed to

          remove by the Court.

       IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

 Dated: January 15, 2025


        I hereby certify that a copy of the foregoing document was served upon the
 parties and/or counsel of record on January 15, 2025, by electronic means and/or
 ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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